       Case 1:19-cv-03619-VSB-RWL Document 93 Filed 11/22/21 Page 1 of 1



 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK
                                                                           11/22/2021
  VALE S.A.,

                     Petitioner,
                                                  Case No. 19-cv-3619 (VSB) (RWL)
         -against-
                                                              ORDER
  BSG RESOURCES LIMITED,

                     Respondent.



HON. ROBERT W. LEHRBURGER, United States Magistrate Judge:

       This resolves the issue raised by interested party Steinmetz at Dkt. 86. As

discussed at the conference held on November 22, 2021, Steinmetz is precluded from

seeking a protective order in response to the Court's order on motion to compel dated

October 15, 2021 (Dkt. 84). Steinmetz could have but did not move to reconsider or file

objections within the fourteen-day period. He also sat on his rights for over a year since

the discovery demands were first served on March 31, 2020. Steinmetz’s time to comply

with the Court’s October 15, 2021 order is extended to December 22, 2021. Plaintiff's

request for sanctions is denied without prejudice.


 Dated: November 22, 2021
 New York, New York

                                          SO ORDERED.



                                          __________________________
                                          Hon. Robert W. Lehrburger
                                          United States District Magistrate Judge


Copies transmitted this date to all counsel of record.



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